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EXHIBIT C
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE : By

Environment:

ret uti ei

ef

In re: Chapter 11

)
)
W.R. GRACE & CO., et al.,! ) Case No. 01-01139 (IKE)
) (Jointly Administered)
Debtors. }
)
)

CLAIMS BAR DATE NOTICE MATERIALS

PLEASE TAKE NOTICE THAT pursuant to the Order of Bankruptcy Judge Judith K.
Fitzgerald, the Bar Date for filing Non-Asbestos Claims, Asbestos Property Damage Claims and
Medical Monitoring claims against W. R. Grace & Co. and certain of its affiliates (collectively,
“Debtors” or “Grace”) is MARCH 31, 2003 at 4:00 p.m. Eastern Time.

Contents
Claims Bar Date Notice 0.00... cee cnn cenncenneararaneencantannetiers one tnrtareivacereeacearte oe Page 1

Order As To Ali Non-Asbestos Claims, Asbestos Property Damage Claims, And Medical
Monitoring Claims: @) Betablishing Bar Date, ® Approving P Proof Of Claim Forms And a i)
Approving Notice Program... danena sens co westerns -» Page 15

General instructions For Completing Proof Of Ciaim Forms For The Bar Date.................. Page 21

1 The Debtdrs consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc), W. R-
Grace & Co-Conn, A-1 Bit & Tool Co., Inc., Alewife Boston Ltd, Alewift Land Corporation, Amicon, Inc.,
CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc ), CCHP, Inc., Coalgrace, Inc., Coalgrace H, Inc., Creative
Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc, Dewey and Almy, LLC (f/k/s
Dewey and Almy Company}, Ecarg, Inc., Five Alewife Boston Lid., G C Limited Partners I, Inc. (ffc/a Grace
Cocoa Limited Partners I, Inc.}, G C Management, Inc. (i/k/a Grace Cocos Management, Inc}, GEC
Management Corporation, GN Holdings, Inc., GPC Thomasville Corp , Gloucester New Communities
Company, Inc., Grace A-B Ine,, Grace A-B IT Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
Inc., Grace H-G Inc., Grace H-G ] Inc., Grace Hote] Services Corporation, Grace International Holdings, Inc.
(i/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
R. Grace Capital Corporation, W R. Grace Land Corporation, Gracoal, Inc, Grecoal HU, Iac., Guanica-Caribe
Land Development Corporation, Hanover Square Corporation, Homco International, Inc , Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace IVH,
Inc,, Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc, MRA Holdings
Corp. (fk/a Nestor-BNA Holtings Corporation}, MRA Intermedco, Inc. (f/k/a Nestor BNA, Inc.}, MRA
Staffing Systems, Inc. (fa British Nursing Association, Inc }, Remedium Group, Inc. (ffk/a Environmental
Liability Management, Inc., EAC Liquidating Corp., Emerson & Cuming, Inc.}, Southern OH, Resin &
Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners ({/k/a Cross Country
Staffing), Hayden-Guich West Coal Company, H-G Coal Company.

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‘IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter i1
} me,
W.R. GRACE &:CO., et al.,! Lt ) Case No. 01-01139 (IKE)
et } (GWointly Administered) :
* Debtors. -*) Floss
: "} 1 ‘
)
CLAIMS BAR DATE Nom ce

PLEASE TAKE NOTICE THAT on April 22, 2002 the Honorable Judith K - Fitegerald,
‘United ‘States’ Bankruptcy Judge, United States Bankruptcy Court for the District of Delaware
(the “Court”), having jurisdiction over the Chapter 11 cases of W. R. Grace & Co. and certain of
its affiliates (collectively, the “Debtors” or “Grace”) entered an Order As to All Non-Asbestos
Claims, Asbestos Property Damage Claims and Medical Monitoring’ Claims; (1) Approving Case
Management Schediile, qi) Establishing Bar Daté, (TH) Approving Proof Of Claim Forms and
(iv) Approving Notice Program: (“Bar Date Order”) which, athong otlier things, sets a Bar Date
for'filing proofs of claim against thé Debtors, for Nom-Asbestos Claims,

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1 The Debtors consist of the following 62 entities: W.R. Grace & Co. {f/k/a Grace Specialty Chemicals, Inc), W R.
Grace & Co- Conn., A- 4 Bit & Tool Go., Ine, Alewife Boston Lid’, Alewife Land Corpbration, Amicon, Inc,
CB Biomedical; Ine. (fica Circe Biomedical, Inc ), CHP, Inc.; Coal grace, Inc., Conigrace UW, Inc: Creative
Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants;-Inc., Dewey and Almy, LLC (tik/a
Dewey and Almy Company), Ecarg, Inc , Five Alewife Boston Lid, G C Limited Partners I, Inc. {f/k/a Grace

. Cocoa Limited Partners J, Ine.) GC Management; Inc. (iik/a Grace Cocoa Management, inc), GEC
Management Corporation, GN Holdings, inc. GPC ‘Thomasville Corp. Gloucester New Communities.
Company, ] Inc.,.Grace A-B Inc. , Grace A-B I Inc., Grace Chemical Coipany of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Conipany, Grace Energy’ ‘Corporation, Gract Envirdimentll, Inc., Grace Burope,
Inc., Grace HG Inc’, Grace H-G'Il Inc., Grace Hotel Services’ Corporation, Gracé Intemational Holdings, Inc.

V, (fikJaiDeatborn’ intefnational Holdings, Inc. ); Grate-Offshore Company, Grace PAR ‘Corporation, Grace
Petroleum:Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
R Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, inc., Gracoal IT, Inc., Guanica-Caribe
Land Development Corporation, Hanover Square Corporation, Homeo International, Inc, Kootenai
Development Company, L.B Realty, Inc.; Litigation’ Management, Inc (f/k/a GHSC Holding, Inc, Grace FVH,
Inc., Asbestos Managemoeit, Ine:}, Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
Corp. (f/k/a Nesto-BNA Holdings Corporation}, MRA Intermedco, Inc. (fAd/a NestorBNA, Inc,}, MRA
Staffing Systems, Inc. (f/k/a British Nursing Association, Inc }, Remedium Group, Inc. (fflt/a Environmental
Liability Management, Inc., E& C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
Fiberglass, Inc , Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
Staffing), Hayden-Guich West Coal Company, H-G Coal Company

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Bar Date Notice Package - Page 2

Asbestos Property Damage Claims and Medical Monitoring Claims, as defined on
Exhibit | attached.

Under the Bar Date Order, the Court established the following Bar Date:

March 31, 2003 at 4:00 p.m. Eastern Time as the last day and time for all persons and
entities, including without limitation, each individual, partnership, joint venture, corporation,
estate, trust and governmental unit who have Claims, including pre-petitien Non-Asbestos
Claims and present Asbestos Property Damage Claims or Medical Monitoring Claims against
any of the Debtors or their predecessors-in- interest, to file proofs of claim.

A. copy of the Bar Date Order setting the Bar Date is enclosed.
1. WHO MUST FILE A PROOF OF CLAM

On Aptil 2y 2001 (the “Petition Date’), each of the Debtors commenced a case under
Chapter 11 of Title 11 of the. United States Code (the “Bankruptcy Code.”) ”

You MUST file a Proof of Claim if you. have a CLAIM against’ the Debtors including but
not limited to any pre-petition Non-Asbestos Claim or any present Asbestos Property Damage
Claim. or Medical Monitoring Claim as defined in Exhibit 1. Any person or entity having such a
claim’ against the Debtors must file a Proof of Claim on Or before the ‘Bar’ ‘Date, using the
applicable Proof of Claim form approved by the Court.

The Bar Date dees not apply to Asbestos Personal Injury Claims, Settled Asbestos
Claims or Zonolite Attic Insulation Claims as defined in Exhibit 1. Asbestos Personal’
Injury Claims, Settled Asbestos Claims and Zonolite Attic Insulation Claims will be subject
to a separate claim submission process and should not be filed at this time.

‘The Bar Date does apply to derivative asbestos claims and ‘asbestos-related claims for
contribution, indemnity, reimbursement ot subrogation, The Bar. Date also applies. to. personal
injury and/or wrongful death claims which are not asbestos-related.

qd

IN THE EVENT THAT PRIOR TO THE BAR DATE you: FILED A’ ‘PROOF OF
CLAIM FOR AN ASBESTOS PROPERTY DAMAGE CUAIM™ OR MEDICAL
MONITORING’ CLAIM USING OFFICIAL FORM 10 OR ANY OTHER, PROOF OF
CLAIM FORM, YOU MUST REFILE YOUR: CLAIM ON. THE APPROPRIATE
SPECIALIZED COURT-APPROVED PROOF: OF CLAIM ‘FORM: ON - OR’ BEFORE
THE BAR DATE OR YOUR:-CLAIM SHALL BE BARRED AND DISALLOWED:

In the event that prior to the Bar Date ‘you filed a proof of claim fot any Claim other than
an Asbestos Property Damage Claim or Medical Monitoring Claim using Official Form, 10 or
any other proof of claim form, you do not need to. refile your: claim on the’ appropriate
specialized cout-approved proof of claim form on or before the Bar Date so long as you
identified the appropriate Debtor against which your ¢laim is assérted it your proof of claim
form.

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‘Under Section101(5) of the Bankruptcy Code and as used in this notice, the word
“claim” means (a) a right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
legal, equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of
performance if such breach gives rise to a right to: payment, whether or not such right to an
equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed,
undisputed, secured or unsecured. Because of this broad definition, acts or omissions of
the Debtors that cecurred before the Debtors filed their Chapter 11 cases on April 2, 2001
may give rise to claims against them notwithstanding that such claims may not have
matured or become fixed or liquidated prior to such date. Thereforé, any creditor having a
claim against the Debtors, no matter’ how remote or contingent, must file a proof of claim
before the Bar Date. ae

As outhred herein, you must file-a claim if you have a PRE-PETITION Non-Asbestos
Ciaim or any PRESENT Asbestos Property Damage Claim or Medical Monitoring Claim as
defined in’ Exhibit 1. A PRE-PETITION claim is a claim as of the time IMMEDIATELY
PRECEDING THE COMMENCEMENT OF THE CHAPTER 11 CASES ON APRIL 2,
2001. A PRESENT claim is a claim as of the time IMMEDIATELY PRECEDING THE
BAR DATE.

2. _ WHO DOES NOT NEED TO FILE A PROOF OF CLAIM -

The Bar Date and the need to file a Proof of Claim applies only to holders of pre-petition
Non-Asbestos Claims against the Debtors and holders of present Asbestos Property Damage
Claims and Medical Monitoring Claims against the Debtors’ You do net need to file a proof of
claim if you have any of the following types of claims: +!

A An Asbestos Personal Injury Claim, 8 Settled Asbestos Claim or Zonolite Attic
Instilation Claim;

'

B. A claim that (i} is listed on the Debtors’ Schedules (as defined below), (ii) is not
described in the Schedules as “disputed,” “contingent,” or “unliquidated,” and
‘(iii) is in the same amount and of the same classification as set forth in the

Schedules;

C. An administrative expense of any of the Debtors’ Chapter 11 cases as defined in
Sections ‘$03(b} or 507(a) of the Bankruptcy Code as including the actual,
necessary costs and expenses of preserving the estate;

dD. A claim of a Debtor or a subsidiary of a Debtor against another Debtor or another
subsidiary of a Debtor;

E A claim that has been allowed by an order of the Court entered on or before the
Bar Date;

F, A claim of a present or former employee of the Debtors who is currently

receiving, currently has the right to receive, or may in the future have a nght to
elect to receive, benefits under a state-mandated workers’ compensation system on

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Bar Date Notice Package.- Page 4

account of any personal injury claims. However, any claims held by former or
current employees that may be asserted directly. against. the Dabtors.outside of a
state workers’ compensation system including, but not limited to, claims for pre-
petition wages, salaries and benefits and deferred compensation, if any, are
subject to the Bar Date and such employees who want to preserve their right, if
any, to assert a claim directly against the Debtors outside of a.state workers’
compensation system must file a Proof of Claim by the Bar Date in order to
preserve'such claim or be forever barred from asserting such claim,

G. The Chase Manhattan Bank, n/k/a JP Morgan Chase, in its capacity as
administrative agent for the Banks and Purchasing Banks which are parties.to one
or both of the two $250 million unsecured revolving credit facilities, namely: (i)
the Credit Agreement dated as of May 14, 1998, and (ii) he 364-Day Credit
Agreement dated as of May, 5, 1999, as each may have been. amended or
} supplemented (collectively, the “Pre-Petition Facilities”’)-may file proofs of claim
po, im. respect of claims for principal, interest and other. amounts that,arise under the
two Pre-Petition Facilities on behalf of the:-Banks and Purchasing Banks for which
it acts in lieu of or in:addition to any individual proofs of claim. filed by such
debtholders and, accordingly, such Banks and Purchasing Banks need not file
proofs of claim asserting such claims, provided, however, that such debtholders
must file individual claims against the Debtors for all other claims they seek to

assert against the Debtors; and

H. Any holder of:an interest.in the Debtors arising solely from its ownership of the
common stock:or otherequity securities of the Debtors heed not:file:a proof of
interest, but must file a proof of-claim for any cldim they have against the

Debtors.

you SHOULD NOT FILE A PROOF OF CLAIM IF YOU DO NOT HAVE A CLAIM
AGAINST THE DEBTORS OF IF THE CLAIM YOU HELD AGAINST THE DEBTORS HAS

BEEN PAID IN FULL.

THE FACT THAT you HAVE RECEIVED THIS NOTICE DOES NOT MEAN
THAT YOU HAVE A CLAIM OR THAT THE DEBTORS OR THE COURT BELIEVE

YOU HAVE A CLAIM.
3: ASBESTOS PERSONAL INJURY CLAIMS, ZONOLITE ATTIC INSULATION
CLAIMS

The Bar Date does not apply to Asbestos Personal Injury Claims, Settled Asbestos Claims
or Zonolite Attic Insulation Claims. Asbestas Personal Injury Claims, Settled Asbestos Claims
and Zonolite Attic Insulation Claims will be subject to a separate claims process, to be
established by the Court, and should not be filed at this ame. .

4. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Any person or entity that holds a claim arising from the rejection of an executory contract
or unexpired lease must file a proof of claim on or before the jater of (a) 30 days after service of

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an order of the Court approving such rejection or 30 days after service of notice of such
rejection, if such rejection occurs by expiration of time fixed by the Court, or (b) the Bar Date.

5, WHEN AND WHERE TO FILE
To file a claim, do the following:

» File the claim on the appropriate Court-ordered Proof of Claim Form a copy of
which is enclosed with this notice.

* For additional copies of the Proof of Claim Form:

s Contact Rust Consulting, Inc., the Claims Processing Agent, toll-free at 1-800-
432-1909, 9:00 am. - 4:00 pm, Eastem Time, Monday through Friday.
Claimants will not be charged for this call.

pew he th
.* «Visit the Grace chapter 1 website at www-.graceclaims.com to request a Proof of
. thistClaim-Form and instractions for completing the Proof of Claim Form.
aeWorg lat Pa tote . : ‘
«my For ALL~CLAIMS, return the completed Proof of Claim Form(s) to the Claims
/ «= ‘Processing gent by ne later than March 31, 20@3.at 4:00 p.m. Eastern Time. ,

« Proof of Claim Forms will be deemed filed only when actually received by the Claims
4 : Processing Agent -Proof of Claim Forms submitted by facsimile, telecopy or other
electronic transmission:will not be accepted and will not be deemed filed. If you are
returning the Proof of Claim Form by mail, allow sufficient mailing-time so that the
Proof of Claim Form is received on or before the Bar Date. Proof of Claim Forms
that are postmarked before that date but are received thereafter will be considered

late. .

© Proof of Claim Forms must be mailed, filed in person, or hand delivered so as to be
received on or before the Bar Date at the following address:

if mailed, to:

Claims Processing Agent

Re: W. R.iGrace & Co. Bankruptcy
P.O. Box 1620

Faribault; MN 55021-1620

If hand delivered, to:

Rust Consulting, Inc.

Claims Processing Agent

Re: W. R. Grace & Co. Bankruptcy
201 S. Lyndale Avenue

Faribault, MN 55021

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(between the hours of 9:00 a.m. and 4:00 p:m., Eastern Time, on business days).

® Proof of Claim Forms will be deemed filed only when actually received at the address
indicated above. You must include all attachments and exhibits with each Proof of
Claim and the claim form must be signed by the claimant

* Do not file or send copies of the Proof of Claim to the Debtors, counsel for the
-Debtors, the Official Committee of Unsecured Creditors, the Official Committee of
Asbestos Personal Injury Claimants, the Official Committee of Asbestos Property
Damage Claimants, the Official Committee af Equity Security Holders, or such

Committees’ counsel. Upon receipt of your claim, the Claims Processing Agent will

i send an acknowledgment card with the appropriate claim number noted thereon.

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i: 6: WHAT FO:FILE | bs 4

If you file a Proof of Claim, you must use the appropriate court-ordered Proof of Claim

‘form'supplied-with this ‘notice: -1f you are'filing.a Proof of Claim for an Asbestos Property
; Damage Claim, use the Proof.of Claim form:entitléd “Grace Asbestos Property Damage Proof of
Claim Form”. If you are filing a Proof of Claim for a Medical Monitoring Claim, use the Proof
of Claim form entitled “Asbestos Medical Monitoring Proof of Claim Form.” If you are filing a
Proof of Claim for any other: claiiti subject:to:the ‘Bar Date outlined ‘herein; use the Proof of
Claim form entitled “Grace Non- Asbestos Proof of Claim Form.”

i eo ‘ yD dnt boii! a, es
: i. Ifyou file a:proof of claim, your filed proof of claim must (iybe written in English, (ti) be
denominated in lawful currency:of the United States; and (iii) indicate:the Debtor. against which
' ‘you-are asserting acclaim: .. “+. Sn gs, as

f

. - 4 i . Weer os ‘ ' 4 1 : :

f » , dE YOU.HAVE A CLAIM AGAINST MORE THAN ONE OF:THE DEBTORS YOU

MUST FILE A SEPARATE PROOF OF CLAIM ASSERTING EACH SUCH CLAIM
AGAINST THE APPROPRIATE DEBTOR.

7. PRODUCT INFORMATION.
For your information and assistance in completing the Asbestos Property Damage Claim
Form, the Debtors mined vermiculite and produced and marketed vermiculite products, some of
which may have contained naturally occurring asbestos, Grace alsoproduced and marketed
vermiculite products containing added asbestos-for use primarily. in commercial; public and high-
rise residential buildings. These products included ceiling and wall: finishés, plasters, and
. cements. In addition, from 1959 to 1973, Grace or its predécessor marketed: Mono-Kote 3 (MK-
; 3), an asbestos-containing, wet, spray-on fireproofing plaster used to provide fire protection for
the enclosed steel beams in such buildings. A list of the brand names‘ under which thé Debtors

manufactured products that may have contained commercially added asbestos is attached as
si Exhibit 2.

8. CLAIMS AGAINST MULTIPLE DEBTORS/OTHER NAMES

If you assert claims against more than one Debtor, you must file a separate Proof of
Claim Form against each applicable Debtor. The case number of each Debtor is listed on the

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Sattadhbd? Exhibit 1:and the General Instructions for filing Proof of Claim Forms. If you file a
ingle'Proof-of Claim Form asserting a Clainr against more than ‘one-Debtor, your claim will be
deemed to have been filed against the first Debtor identified only. All additional: identified
Debtors will be disregarded. |

If you believe you have a claim against the Debtors’ estates but you are not sure which

‘Debtor to assert your claim against, attached'as part'of Exhibit ] to this Bar Date’ Notice is also a
list of “other names” used by the Debtors’ main operating entity, W. R. Grace & Goi “Conn,

“case‘no. 01-1179. Any Claims you wisl’ to ‘assert against one of these “other ndmes” should be
filed against W. R. Grate ‘& Co. “Conn. pray sp es
bls ore Rat rn : a ater: fs chred

If you néed additional ‘Proof of Claim Form(s), you may:obtain ddditiorial-fornis by: (2)
calling the Claims.Processing Agent toll free at 1-800-432-1909; or (b) requesting such forms: via
the website at www.graceclaims.com MESS ca Pe

9. EFFECT OF NOT FIGING'A CLAIM

ANY HOLDER OF A’'NON-ASBESTOS CLAIM, ASBESTOS PROPERTY DAMAGE
CLAIM OR MEDICAL MONITORING CLAIM WHO IS REQUIRED TO FILE A PROOF OF
CLAIM AND USE A COURT APPROVED PROOF OF CLAIM FORM AND WHO FAILS
TO FILE A PROOF.GF-CLAIM ON OR BEFORE THE BAR DATE FOR ANY CLAIMS
SUCH CLAIMANT HOLDS AGAINST ANY OF THE DEBTORS OR THEIR
PREDECESSORS-IN-INTERBST, INSURANCE CARRIERS OR THE DEBTORS’
PROPERTY, SHALL BE FOREVER BARRED, ESTOPPED AND ENJOINED FROM
ASSERTING ANY SUCH CLAIMS (OR FILING A PROOF OF CLAIM WITH RESPECT TO
SUCH CLAIMS) AGAINST ANY OF THE DEBTORS, THEIR PROPERTY OR THEIR
ESTATES. IF ANY SUCH CLAIMS ARE SO BARRED, EACH OF THE DEBTORS AND
ITS PROPERTY SHALL BE FOREVER DISCHARGED FROM ALL INDEBTEDNESS AND
LIABILITIES WITH RESPECT TO SUCH CLAIMS AND THE HOLDERS OF SUCH
CLAIMS SHALL NOT BE PERMITTED TO VOTE ON ANY PLAN OR PLANS OF
REORGANIZATION OR RECEIVE ANY DISTRIBUTION IN THESE CHAPTER 11 CASES
ON ACCOUNT OF SUCH CLAIMS, OR TO RECEIVE FURTHER NOTICES REGARDING
SUCH CLAIMS OR REGARDING THESE CHAPTER 11 CASES. As noted above, present ar
former employees of the Debtors receiving or having a right to elect to receive workers’
compensation benefits on account of asbestos exposure do not need to file a Proof of Claim to
preserve such benefit but must file a Proof of Claim if they seek to preserve a right to proceed
against the Debtors in respect of all Non-Asbestos Claims

10. THE DEBTORS’ SCHEDULES AND ACCESS THERETO

You may be listed as the holder of a claim against one of more Debtors in the Debtors’
Schedules of Assets and Liabilities and/or Schedules of Executory Contracts and Unexpired
Leases (collectively, the “Schedules”).

Copies of the Schedules may be examined by interested parties between the hours of 9:00

am and 4:00 pm., Eastern Time, at the office of the Clerk of the Bankruptcy Court, United
States Bankruptcy Court for the District of Delaware, Sixth Floor, 824 Market Street,

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Wilmington, Delaware 19801 or you may request a copy of the portion of the Schedules that
pertains to your claim from the Claims Processing Agent at P.O. Box 1620, Faribault, MN
55021-1620.

11. QUESTIONS REGARDING COMPLETION OF PROOF OF CLAIM FORM

If you have any questions concerning whether or not you need to file a Proof of Claim,
you should consult your attomey. If you have questions concerning how to complete a Proof of
Claim Form or for additional information regarding this Notice or to obtain a Proof of Claim
Form, contact the Claims Processing Agent toll-free at 1-800-432-1909 between 9:00 a.m. and
4:00 p.m. (Eastern Time), Monday through Friday, or write to: Claims Processing Agent, Re:
W. R. Grace & Co. Bankruptcy, P.O. Box: 1620, Faribault, MN 55021-1620. ‘You may also
request a Proof of Claim Form and instructions via Grace’s chapter 11 website, at
www.graceclaims.com

BY ORDER OF THE COURT

/of Judith K. Fitzgerald

The Honorabie Judith K. Fitzgerald
United States Bankruptcy Judge

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rtd DEFINITIONS OF CLAIMS. SUBJECT TO-BAR DATE

VE 4

The | Bar Date ‘shall apply te persons and. entities ‘having claims within section 101(5) of the
Bankruptcy Code against any or all of the following entities or their predecessors-in-interest; W. R.
Grace i&Co; (ffk/a Grace Specialty Chemicals, Inc.), casé no. 01-1139, W. R. Grace &*Co.-Conn.,
case no, 01-1179, Ar] Bit & Too! Co., Inc., case no. 01-1140, Alewife Boston Ltd., case no. 01-1141,
Alewife Land Corporation, case no. 01-1142, Amicon, Inc., case no. 01-1143, CB Biomedical, Inc.
(i/k/a'Circé Biomedical, Inc.), case no. 01-1144, CCHP, Inc., case no. 01-1145, -Cealgrace, Inc., case:
no. 01-1146; Coalgrace II, Inc., case no. 01-1147, Creative‘ Food ‘N Fun Company, case no. 01-1148,
Darex Puerto Rico, Inc., case no. 01-1149, Del Taco Restaurants, Inc., case no. 01-1150, Dewey and
Almy, ULC (i/k/a Dewey and Almy Company), case no. 01-1151, Ecarg, Inc, case no. 01-1152, Five
Alewife Boston ‘Ltd., case no. 01-1153, G C Limited ‘Partners 1, Inc. (f/k/a Grace ‘Cocoa ‘Limited
Partners I, Inc.), case no. 01-1154, G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.),
case n0.'01-1155, GEC Management Corporation, case no; 01-1156, GN Holdings, Inc, case ne- 01-
1157, GPC Thomasville Corp., case no. 01-1158, Gloucester New Communities Company; Inc., case
no, 01-1159, Grace A-B Inc., case no. 01-1160, Grace A-B II Inc., case no. 01-1161, Grace: Chemica!
Company of Cuba, ‘case no. 01-1162, Grace Culinary Systems, Inc. case no. 01-1163, ‘Grace Drilling
Company, case no. 01-1164; Grace Energy Corporation, case no. 01-1165, Grace Environmental,
Inc., case no. ‘01-1166, Grace Europe, Inc., case no. 01-1167, Grace EG Inc., case no. 01-1168, ° -
Grace B-G U0 Inc., case no. 01-1169, Grace Hotel Services Corporation, case no. 61-1170, Grace
International Holdings, Inc. ({/Kk/a Dearborn International Holdings, Inc.), case no. 01-1171; Grace
Offshore Company, case no. 01-1172, Grace PAR Corporation, case no. 01-1173, Grace Petroleum
Libya Incorporated, case no. 01-1174, Grace Tarpon Investors, Inc., ase no. 01-1175, Grace’ -
Ventures Corp., case no. 01-1176, Grace Washington, Inc., case no. 01-1177; W. R. Grace Capital
Corporation, case no. 01-1178, W. R. Grace Land Corporation, case no. 01-1180, Gracoal, Inc., case
no, 01-1181, Gracoal H, Inc., case no. 01-1182, Guanica-Caribe Land Development Corporation,
case no. 0141183, Hanover’ Square Corporation, case no. 01-1184, Homco International, Int., case
no. 01-1185, ‘Kootenai Development Company, case no. 01-1186, L B Realty, Inc., case no. 01- 1187,
Litigation’ Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management,
Inc. ) case no. 01-1188, Monolith Enterprises, Incorperated, case no. 01- 1189, Monroe Street, Inc.,
case no. 01-1190, MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corpo ration), case no. 01-1191,
MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc:), case no, 61-1192, MRA Staffing Systems, Inc. (f/k/a
British Nursing Association, Inc.), case no, 01-1193, Remedium Group, Inc. (f/k/a Environmental
Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc. ), case no. 01-1194, |
Southern Oil, Resin & Fiberglass, Inc., case no. 01-1195, Water Street Corporation, case no, 0l-
1196, Axial: Basin Ranch Company, case no. 01-1197, CC Partners (f/k/a Cross Country Staffing),
case no, 01-1198, Haydén-Guich West Coal Company, case no. 01-1199, H-G Coal Companiy, case
no, 01-1200, (herein collectively referred to as the “Debtors” or “Grace”),

W. R. Grace & Co. - Conn. is the Debtors’ main operating entity. Attacliéd ‘hereto is a list of “other
names” ‘used by W. R. Grace & Co, - Conn. in the last 6 years. If you assert a claim against any of
these “other names”, your claim should be filed against W. R. Grace & Co - Conn., case no. 01-1179.

Non-Asbestos Claim: Non-Asbestos Claims are all other claims against the Debtors as of the time
immediately ‘preceding the commencement of the Chapter 11 cases on April 2, 2001 other than
Asbestos Property Damage, Zonolite Attic Insulation, Asbestos Personal Injury, Settled Asbestos or
Medical Monitoring Claims. More specifically, Non-Asbestos Claims are those claims against one or
more of the Debtors, whether in the nature of or sounding in tort, contract, warranty or any other theory of
law or equity for, relating to or arising by reason of, directly or indirectly, any injury, damage or
economic loss’ caused or allegedly caused directly or indirectly by any of the Debtors or any products of
materials manufactured, sold, supplied, produced, specified, selected, distributed or in any way marketed

-1- Exhibit | 10 Bar Date Notice

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by one or more of the Debtors and arising or allegedly arising directly or indirectly, from acts or
omissions of one or more of the Debtors, including, but not limited to, all claims, debts, obligations or
liabilities for compensatory and punitive damages. For purposes of the Bar Date, the defined term “Non-
Asbestos Claim” is not intended to include those claims separately defined herein as (a) Asbestos
Personal Injury’ Claims; (b) Asbestos Property Damage Claims; (c) Settled Asbestos Claims; (d) Zonolite
Attic Insulation Claims; or (¢) Medical Monitoring Claims.

Asbestos Property Damage Claim: Asbestos Property. Damage Claims are claims as of the time

immediately preceding the Bar Date that relate, for example, to the cost of removal, diminution of

property value or economic loss caused by asbestos in products. manufactured by the: Debtors-or from

vermiculite mined, milled, or processed by the Debtors. More specifically, Asbestos. Property Damage .
Claims are those claims against, or any debt, obligation or liability of one or more:of. the. Debtors,

whether in the nature.of or sounding in tort, contract, warranty or any other theory of jaw or equity for,

relating to or arising by reason of, directly or indirectly, property damage, including; but not- limited. to,

diminution in the value thereof, or environmental damage or economic loss caused or allegedly caused,

directly: ox, indirectly, by asbestos in products or materials, manufactured, sold, supplied, produced,

specified, selected, distributed or in any way marketed by one or more of the Debtors or from. vermiculite,
mined, milled, or processed by the Debtors and arising or allegedly arising, directly or indirectly, from

acts or omissions of one or more of the Debtors, including, but not limited to, all claims, debts,

obligations or liabilities for compensatory and punitive damages. For purposes of the Bar Date, the

defined term “Asbestos Property Damage Claim” is not intended to include those. claims. separately

defined herein as (a) Asbestos Personal Injury Claims; (p} Zonolite Attic Insulation Claims; (c) Settled

Asbestos Claims; (d) Non-Asbestos Claims; or (¢) Medical Monitoring Claims even though such claims
may or may not arise directly or indir rectly as a result of claims for property damage relating to asbestos or
vermiculite.

Medical Monitoring Claim: Medical Monitoring Claims are those claims by or on. behaif of those who
have not as of the Bar Date suffered any personal injury but who are alleging that Grace wrongfully
caused them to be significantly exposed to hazardous asbestos fibers, that this exposure significantly
increased the claimant's risk of contracting a serious latent disease, that medical monitoring could
reasonably be expected to result i in early detection of the onset and mitigation of the severity of.such
disease, and that because of this exposure it is necessary for the claimant to be examined by a physician or.
receive medical, testing more often than he or she otherwise would.

AS outlined j in the Claims Bar Date Notice, the Bar Date does not apply to Asbestos Personal Injury,”
Claims, Settled Asbestos Claims or Zonolite Attic Insulation Claims. These claims will be subject to |
a separate claims submission process and should not be filed at this time. Those claims are defined
as follows: ~ oo?

Asbestos Personal Injury Claim: Asbestos Personal Injury Claims are those claims involving personal
injuries or damages related to exposure to asbestos containing products manufactured by the Debtors or
exposure to vermiculite mined, milled or processed by the Debtors. More specifically, Asbestos Personal
Injury Claims are those claims against one or more of the Debtors, whether in nature of or sounding in
tort, contract, warranty or any other theory of law or equity for, relating to or arising by reason of, directly
or indirectly, physical, emotional or other personal injuries or other damages caused, or allegedly caused,
directly or indirectly, by the exposure to, asbestos containing products or materials manufactured, sold,
supplied, produced, specified, selected, distributed or in any way marketed by one. or more of the Debtors
or by the exposure to vermiculite mined, milled or processed by the Debtors, and arising or allegedly
arising, directly or indirectly, from acts or omissions of one or more of the Debtors, including, but not
limited to, all claims, debts, obligations or liabilities for compensatory damages such as loss of
consortium, medical monitoring, personal or bodily injury, wrongful death, survivorship, proximate,

consequential, general and special damages and punitive damages. “Asbestos Personal Injury Claim” is

-2- Exhibit 1 to Bar Date Notice 3

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not intended to include those claims separately defined herein as (a) Asbestos Property Damage Claims;
(b) Zonolite Attic Insulation Claims; (c) Settled Asbestos Claims; (d) Non- Asbestos Claims; or (e)
Medical. Monitoring Claims even though’ such claims may or may not.arisé directly or indirectly as a
result of exposure to asbestos or asbestos-containing products or the mining, milling or processing of
vermiculite.

Settled Asbestos Claim: Settled Asbestos Claims are those Asbestos Personal Injury Ciaims against the
Debtors for which the Claimant and one or more of the Debtors entered into a fully-effective and binding
settlement agreement, for.a liquidated amount, as of thé commencement of the Debtors’ chapter 11 cases
on April 2, 2001, but for which the Claimant has yet to receive full payment. “Settled Asbestos Claim” is
not intended to include those ¢laims separately defined herein as (a) Asbestos Personal Injury Claims; (b)
Asbestos Property Damage Claims; (c) Zonolite Attic Insulation Claims; (d) Non-Asbestos Claims; or (e)
Medical Monitoring Claims even though such claims may or may not arise directly or indirectly as a
result of exposure to asbestos or asbestos-containing products or the mining, milling or processing of
vermiculite.

Zonolite Attic Insulation Claim: Zonolite Attic Insulation Clidimis are claims that relate, for example, to
the cost of removal, diminution of property value or economic Joss caused by the presence of Zonolite
Attic Insulation manufactured by the Debtors. Zonolite Attic ‘Insulation is a loose-fill, non-roll
vermiculite home attic insulation, which may contain naturally occurring asbestos. It was sold fromthe
1920/1930s to 1984. Zonolite may have a glittery granular appearance. The granules are shaped like a
small nugget and expanded’ like an accordion and may have a silvery; gold translucent or brownish cast.
Afier years in the attic, however, the graniles'may darken to black or gray. Zonolite may be found
underneath subsequently inigtdlled insulation of other types such aé‘rolled fiberglass insulation. Zonolite
Attic Insulation Claims are those claims against, or any debt, obligation or Hability of, one or more of the
Debtors, whether ‘in‘the ‘atire of or sounding in tort, contract, warranty or any other theory of law or
equity, relating to or arising by reason of, directly or indirectly, property damage, including, but not
limited to, diminution in the value thereof, or environmental damage or economic loss caused or allegedly
caused, directly or indirectly, by the Zorolite ‘Attic Insulation sold, supplied, produced, specified,
selected, distributed of in any way marketed by. one ‘of the Debtors -- and arising or allegedly arising,
directly or indirectly, from acts or omissions’ ‘of ¢ one or more of the Debtors, including, but not limited to,
all claims, debts, obligations dr liabilities for compensatory and punitive damages. The defined term
“Zonolite Attic Insulation Claim” is not intended to'iriclude those claims separately defined herein as (a)
Asbestos Personal Injury Claims; (b) Asbestos Property Damage Claims; (c) Settled Asbestos ‘Claims; (d)
Non-Asbestos Claims; or (¢€) Medical Monitoring Claims even though such claims may or may not arise
directly or indirectly as a result of claims for property damage relating to Zonolite Attic Insulation.

3. Exhibit | to Bur Date Notice

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OTHER NAMES USED BY W. R. GRACE.& CO.-CONN. CASE NO. 01-1179 IN LAST 6 YEARS

ABS

ABS Specialty Genetics
Adtec

Agracetus

Airmoid

Ambrosia Chocolate
American Breeders Service
American Café

Amicon

Amicon, Inc.

Aquatec Chemical
Assignment America
Auragen

Baker & Taylor

Beltronix Systems, Inc.
Camet .

Canonie, Inc.

Canonie Environmental Services
Canonie Ventures

Caswell Massey

Century Café,

CC Partners

CCHP

Chomerics

Citce Biomedical

Coast Café

Colowyo Coal Company:
Composite Materials
Construction Products Division
Cormix

Creative Food And Fun
Crosfield Catalysts

Cross Country Healthcare Personnel

Cross Country Healthcare Professionals

Cross Country Staffing
Cryovac

Cypress Packaging
Darex

Darex Container Products
Darex Puerto Rico
Davison

Davison Catalysts
Davison Chemical
Davison Silicas

Dean & Deluca

Dearborn

Dearborn Chemicals

Del Taco, Inc,

Del Taco Restaurants
Dewey & Aimy

Dewey & Aimy Chemicals
Dialysis Services Division
Diamonite

Duncan Lagnese & Assoc., Inc.
Emerson & Cuming
Endura

Environmental Litigation
Management .

Endka, Inc.

Flex- Light

’ Formpac

Geniva

Gloucester New Communities Co.
GN Holdings

Grace Biomedical

Grace Biopesticides

Grace Bioremediation Technologies
Grace Cocoa a,

Grace Cocoa Associates, L.P.
Grace Composite Materials,
Grace Construction Products
Grace Container Products

Grace Culinary’ ‘Systems

Grace Davison.

Grace Drilling

Grace Energy

Grace Healthcare

Grace Hotel Services Corporation
Grace Logistics Services

Grace Membrane Systems

Grace Microwave

Grace Packaging

Grace Performance Chemicals
Grace Petroleum Company
Grace-Sierra

Grace Specialty Businesses
Grace Specialty Polymers

Grace Tec Systems

Grace Transportation Services
Grace Washington, Inc

4.

Gracaal

Harold's

Home Nutritional Services
Homecare Division

Hotel Services Corporation’
Huthnance

LB Realty

Las Brisas

Las Brisas Restaurant
Lifechem, Inc.

Lighting Systems International

_ Marine Culture Enterprises

Medallianice

Medical Products Division
Merckens Chocolate
Metreon

Minico

Monolith Enterprises
National Medical Care
NMC

PJ McKenzie’s

Propal —

Protocare

Reg .

Restaurant Enterprises Group
Remedium Group, Inc.
Secret Harbor Bistro
Sourgas —

Southern Flow Companies,
Stantrans, Inc.

STS

Support Transport Services
Tec Systems

Veratex Corporation
Visiting Nurses

Exhibit | to Bar Date Notice

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A list of the brand names under which the Debtors manufactured or distributed products which
may have contained commercially added asbestos, includes, but may not be limited to, the
following:

- ArtZonolite Board Texture (1961 - 1964);

- ArFZonolite Natura

- Ar-Zonolite Oyster White

- ArtZonolite Nu-White

- Econo-White 65 and Econo- White 70 -- Econo-White Acoustical Texture; Bcono- White
Super White

~ H+Sorb Acoustical Plaster (1966 - 1973) -- KX White Hi-Sorb; Oyster White Hi Sorb

~ Perlcoustic (1966 - 1973)

-  Perltex Spray Surfaces (19 ?? - 1973) -- PlasterTex; Perltex Super-40 Spray Surfacer;
Perltex Super-40; Gun Coat Spray Surfacer

- Perltex Super-40 Fog (19 77 ~ 1973) -- Perltex Fog (Prior to 1968)

- Perltex Super-40 Perltex (19 77 - 1973) -- Perltex Perlite; Super-40 Perlite

- Perltex Super-40 Polycoarse -- Perltex Polycoarse (Prior to 1988)

~ Perltex Super-40 SAV (19 77 - 1973) -- Perltex SAV; Super-40 SAV

- Prep-Coat #3; Prep-Coat #5

- Satin White

- Spra-Wyt a/k/a Spra-Wyt Finish, Spra-Wyt Acoustical, Spra-Wyt Acoustical Finish

- Vermiculite Acoustical Plaster; Vermiculite Acoustical Plastic

- Versakote -- Prep Coat #4

- Z-Tex (1958 - 1962) -- EX-Tex; Z- Tex 2; Z-Tex 2 Super White

~ Zono-Coustic (1960-1973) -- Zone-Coustic 1; Zonecoustic 2; Zonocoustic 3;
Zonocoustic Type Z; and Zonocoustic (MK2)

- Zonolite Acoustical Plaster (1945 - 1972) -- Zonolite Acoustical Plastic; Zonolite Board
of Education Texture (1962 - 1963)-- Board of Education Hard Texture

- Zonolite Finish Coat (1956 - 1970) -- Decorator’s White

- Zonolite Finish Coat (1961 - 1973) -- Decorator’s White Extra Hard

- Zonolite Finishing Cement

- Zonolite High Temperature insulating Cement (1938 - 1971) -- Hi Temp Insulating
Cement; Zonolite Hi Temperature Cement; Zonolite High Temperature Cement

~ Zonolite Mono-Kote (MEK~1) (1958 - 1962) -- Mono-Kote (generic name)

- Zonolite Mono-Kote 3 (MIK-3) (1959 - 1973) ~ Mono-Kote (generic name)

- Zonolite Spra-Insulation (1959 - 1973) -- Mono-Kote (MK-2)

~ Zonolite Spra- Tex -- Regular (1955 - 1972) -- Zonolite Spra- Tex EH

- Zonolite Spra Tex -- Extra Hard (1961 - 1972)

-l- Exhibit 2 to Bar Date Notice

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of ‘IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W. R. GRACE & CO., et al.,! ) Case No, 01-01139 QIKF)
-) Gointly Administered)
Debtors. )
)
)

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ORDER AS TO ALL NON-ASBESTOS CLAIMS, ASBESTOS
PROPERTY DAMAGE CLAIMS, AND MEDICAL MONITORING
CLAIMS: (ij ESTABLISHING BAR DATE, (1) APPROVING PROOF
OF CLAIM FORMS AND (11D APPROVING NOTICE PROGRAM

Upon the widtion dated ‘June’ 27, 2001 (the “June 27,' 2001 Motion”), as revised on
February 12; 2002 (tie “Motion”)? of’ Debtors; pursuant 16 Rule'3003(c)(3) of the Federal Rules
of Bankriptoy*Protedures (the “Bankruptcy Rules”), for (i) entry of ¢ase mandgement order, (ii)
establishtheni of Bat Dates*(iir) ‘Approval of proof of claim forins, and (iv) approval of the notice

program, alas ‘fhére fully set forth in the’Motion; and the Court-having Jusisifotion to consider

nog Lae :
? SalI be A ET 4

i Tné'Debtové-condist ofthe following 62 Entities: W. R. Grace & Co (f/k/a Grace Specialty Chemicals; Inc), W. R
_ Grace. & Co-Conn,, A-] Bit & Tool Co,, ine, Alewife Boston Ltd , Alewife Land Corporation, Amicon, Inc.,
CB Bidmedical; "Ine: (fila Ciice Biomedical, “Tac }, CCHP; Inc, Coalgrace, Inc., Coalgrace Il, inc., Creative
. Food “N Fun Company, Darex Puerto Rico, Inc., Del Taco.Restqurants, Inc, Dewey and Almy, LLC (filva
Dewey and Almy Company), Ecarg, Inc, Five "Alewife ‘Boston Ltd., G C Limited Partners 1, inc, (f/k/a Grace
- Cocoa Limited Partners I, Inc.) .6 C Management, Ane. (ffk/a Grace Cocoa Management, Inc), GEC
Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc , Grace A-B Inc:, Grace A-B Ii Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
Inc., Gtace H+G Inc., Grace’ H-G ii inc., Grace Hotel Services Corporation, Grace International Holdings, inc
(kia Dearborn International Holdings, Ine ), Grace Offshore Company, Grace PAR Corporation, Grace
Petroleum Libya Incorporated, Grace Tarpon ‘Jnvestots, Inc , Grace Ventures Corp , Grace Washington, Inc , W.
R. Grace Capital Corporation, W. R. Grace Land. Corporation, Gracoal, Inc., Graceal IT, Inc., Guanica-Caribe
Land Development Corporation, Hanover Square Corporation, Homeo International, Inc, Kootenai
Development Company, L B Realty, Inc., Liigation Management, Inc. (ffk/a GHSC Holding, Inc., Grace JVH,
Inc., Asbestos Management, Inc.}, Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
‘Corp (ifk/a Nestor BNA Holdings Corporation}, MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc), MRA
Staffing Systems, Inc. (ffk/a British Nursing Association, Inc.), Remedium Group, Inc CfAc/a Environmental
Liability Management, Inc., E&C Liquidating Corp, Emerson & Cuming, inc }, Southem Oil, Resin &
Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners Gifk/s Cross Country
Staffing), Hayden- Gulch West Coal Company, H-G Coal Company

2 All capitalized terms not otherwise defined herein have the meaning ascribed to them in the Motion

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Bar Date Notice Package - Page 16

the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and it
appearing that (a) establishing a bar date by which creditors must assert any Asbestos Property
Damage Claims, Medical Monitoring Claims and any Non-Asbestos Claims against any of the
Debtors or be forever barred from asserting such claims, voting on any plan or plans of
reorganization or participating in any distributions from the Debtors’ estates in accordance with
the authority granted to this Court by title 11 of the United States Code (the “Bankruptcy Code”)
and the Bankruptcy Rules is necessary for the prompt and efficient administration of these
Chapter 11 cases and to protect the interests of the Debtors, their creditors and other parties in
interest herein; (b) notification of the relief granted by this Order in the manner proposed by the
Debtors, as set forth herein, is fair and reasonable and will provide good, sufficient and proper
notice to ail creditors of their rights and obligations in connection with claims they may have
against the Debtors in these Chapter 11 cases; (c) the form and content of the Debtors’ Asbestos
Property Damage Proof of Claim Form, Asbestos Medical Monitoring Proof of Claim Form and
Non- Asbestos Proof of Claim Form and accompanying instructions as amended (collectively, the
“Proof of Claim Forms”) are fair and reasonable; and (d)} a bar date of March 31, 2003 for all
Claims required to be filed against the Debtors as provided for herein is appropriate in these
cases; and due notice of the Motion having been provided to (i) the United States Trustee for the
District of Delaware, (ii) counsel to The Chase Manhattan Bank as agent for the Debtors’
prepetition lenders, (iii) the attomeys for each of the Official Committees appointed in these
cases, and (iv) all parties required to be provided notice pursuant to Bankcuptey Rules 2002 and
9007 and Local Rule 2002-1; and it appearing that no other or further notice need be provided;
and it appearing that it is appropriate to set the bar date; and the Court having determined that the
relief sought in the Motion is in the best interests of the Debtors, their creditors and all parties in
interest; and upon the Motion and all of the proceedings had before the Court, and after due
deliberation and sufficient cause appearing therefore, it is:

ORDERED, that, pursuant to Bankruptey Rule 3003(c)(3}, March 34, 2003 is fixed as
the bar date for filing proofs of claims asserting Asbestos Property Damage Claims, Medical
Monitoring Claims and Non-Asbestos Claims against the Debtors (the “Bar Date”), as such
claims are defined on Exhibit | to the Claims Bar Date Notice; and it is further

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‘Bar. Date Notice’ Package ~ Page. 17

ORDERED "that proofs of claim will be deemed. timely: filed only: if actually received by
the Debtors’ Claims Processing Agent at the addiess provided for in the Claims Bar Date Notice
on or before thé'Bar'Date; and itis'fartier © < * Sa

ORDERED that the Debtors’ Claims. Processing Agent'shall .:of accept-proofs of claim
sent by facsimile, telecopy, pr electronic transmission; and it is further

ORDERED that any person or entity that holds a a Claim arising from:the rejection of an
executory contract or unexpired lease with any of the Debtors must file a proof of claim based
upon such rejection on or before the later of (a)-thirty (30) days ‘after service’ of an order of the
Court approving such rejection or thirty.(30)} days after service of notice.of such rejection, if such
rejection occurs by expiration of time fixed by the Court, and (b) the March 31, 2003 bar date;
and it is further

ORDERED that'each: proof of claim to:be properly filed pursuantito-this Order shall (i) be
written. in the-English:Janguage; (ii}:be denominated isi lawful currency. ofthe United States, (fii)
conform substantially with: the:spécializéd Proof of Claim Forms’ approved by this Court herein,
-except -for holders :ofNon-A'sbéstos.Claims:who may file:Official:Form 0, and (iv):indicate the
Debtor againstiwhich the creditor is:asserting ‘a-claim; and itds-further :: + Sa BEM oy

ite ORDERED» that notice of entry!of this Order andiofthe Bar Dateiin a form:substantially
similar ‘tothe: notice filed cherewith.(the ‘iBar-Date, Notice”), which Bar Date Notice .is hereby
-approved in-all respects, shall ‘be deemed: good, adequate and. sufficient notice of the Bar Date
and all:procedures and requirements:in connection therewith. if-it-is served: together with: this
Order; :the'‘General Instructions: for-filing: Proofiof ‘Claim “Forms ‘and the:appropriate Proof of
Claim Forms (the:Bar Date Notice. Package’) by idepositing ‘same: in the! United States:mail,
first-class postage prepaid, within sixty (60) days after the date of entry of this»Order upon the
foliowingrentities: - “ Ap tt Pak aR

AL t: sithe Office of-the United States Trustee for the District of Delaware,

B. "the menibers of the Committees and their’ attorneys,
C. all holders of prepetition debt issued by or on belalf of the Debtors, but only to
the extent the identity of such holders is known to the Debtors,’ ,

D. all entities listed on the Schedules as having Claims or potential Claims, at the
adlresses stated therein,

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E all counter-parties ‘to executory contracts and unexpired: leases ‘listed on the
Schedules at the addresses stated therein,

the District Director of Internal Revenue for the District of Delaware,

G. the Securities and Exchange Cominission,
i. all entities requesting notice pursuant to Bankripity Rule 2002 as of the entry of
this-Order; a
1 holders of known Non-Asbestos Clairns as defined on Exhibit-1'td the Bar Date
| Notice and their counsel, ifknown,and . mae
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t

I, all current residents of the Libby, Montana aréa.'

and it is further oO oo "
ORDERED that notice of entry of this Order and of the Bax Date shall be:deemed good,
adequate ‘and sufficient notice of the Bar Date and-all procedures and reqiirements in connection
therewith: if it is served together with the Bar Date Notice Package by depositing same in the
is United States mail, first-class: postage prepaid, within thirty:(30) days after:the date of entry: of
this Order upon all counsel: of:record for known: holders :of Asbestos Property Damage ‘Claims
and Medical- Monitoring Claims as:defined on.Exhibit 1-to the Bar: Date Notic#} and:itis.further
ORDERED that all counsel of record-for holders!of'Asbestos:Property. Damnage ‘Claims
and/or Medical Monitoring Claims provide the Debtors with the following:information: (1) the

current names and,addresses:of their clients who-have claims against the: Debtors:in these cases
; or who may: or might lave claims against the Debtors in!these. cases, within bixty:(60) days after
3 the date of entry of this Order-so that the Debtors swill:be able: to provide. their clients with the
Bar Date:Package no later'than ninety (90) days-after the date ofithis Order, or:(2) a certification
i within sixty (60) days after the date of entry of this Order, that counsel ha$-.contacted: or
attempted to contact: all of their clients whom they represent; provided them with the Bar Date
Package and advised them regarding their rights to assert a.claim against the Debtors and their
’ need to file their proofs of claim on the court-approved Proof of Claim forms by the deadlines set
: forth herein; and itis further

ORDERED that notice of the entry of this Order and of the Bar Date to unknowt
claimants pursuant to the Debtors’ Bar Date Notice Plan For Asbestos Property Damage Claims
and Other Claims (the “Notice Plan”), as modified, and filed on April 12, 2002, shall be deemed

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Sar Date Notice Package - Page 19

-good, adequate and sufficient notice.of the Bar Date, and the Debtors and their professionals
(including but not limited to Kinsella Communications, Ltd.) are -hereby. authorized and directed
to take-any and all actions necessary to fully implement the Notice Plan, including the making of
expenditures necessary to implement the plan from estate funds, the. placement of the
advertisements contemplated in the plan, the payment for advertisements including commissions
to advertising agencies and the employment of and payment to 2 1-800 response company, all
without further notice, hearing or order of this Court; and it is further

ORDERED that the Proof of Claim Forms as revised and filed on April 12, 2002 are
approved; and it is further

ORDERED that any person holding an Asbestos Property Damage Claim, Medical
Monitoring Claim or Non-Asbestos Claim who does not file a completed Proof of Claim Form
on or before the Bar Date shall be forever barred to the extent of applicable law from (a)
participating in the Debtors’ estates; (b) voting with respect to any plan of reorganization filed in
these cases; and (c) receiving any distribution from the Debtors or any entity created pursuant to
or in connection with any confirmed plan of reorganization in these cases. Further, such parties
(a) to the extent of applicable law shall be bound by the terms of any confirmed plan of
reorganization (including, without limitation, any provisions therein that provide the Debtors,
any successor or any party under a confirmed plan with a release or discharge pursuant to 11
U.S.C. §§ 524(g) and 1141, and (b) shall not receive any further notice of these cases or the
rnatters considered in connection therewith; and it is further

ORDERED that the Debtors are authorized to take such steps and perform such acts as
may be necessary to implement and effectuate the terms of this Order; and it is further

ORDERED that notification of the relief granted by this Order as provided herein and in
the Motion is fair and reasonable and will provide good, sufficient and proper notice to all
creditors of their rights and obligations in connection with the claims they may have against the
Debtors in these chapter 11 cases in satisfaction of due process; and it is further

ORDERED that this Court requests the aid and recognition of any court or judicial,

regulatory or administrative body in any province or territory of Canada and the Federal Court of

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Canada-andi any judicial; regulatdry‘or administrative tribunal of any other state or nation to act

in aid ‘of and to be cornmplementary to this Court in carrying out the terms of this Court’s ordérs in
‘the present adversary proceeditig In particular, this Court requests the’ continued cooperation
and assistance’ of the Superidr Court of Justice of Ontario arid’ extends its appreciation to Mr.
Justice James Farley of that Court:

April'22, 2002 3
Wilmington, Delaware |

fet Judith K. Fitzgerald: ° Ton

The Honorable Judith K. Fitzgerald’
United States Bankruptcy Judge -

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GENERAL INSTRUCTIONS FOR COMPLETING PROOF OF CLAIM FORMS
FOR THE BAR DATE

The instructions and definitions below are general explanations of the law. In particular types of
cases or circumstances, there may be exceptions to these general rules.

THE BAR DATE, AS DEFINED HEREIN, DOES NOT APPLY TO ASBESTOS
PERSONAL INJURY CLAIMS, SETTLED ASBESTOS CLAIMS OR ZONOLITE
ATTIC INSULATION CLAIMS, AS DEFINED BELOW. THOSE CLAIMS WILL BE
SUBJECT TO A SEPARATE CLAIM SUBMISSION PROCESS AND SHOULD NOT BE
FILED AT THIS TIME,

-~ GENERAL DEFINITIONS —
“Bar Date” is the date set by the Court as the date by which all persons and entities who have
claims against the Debtors must file proofs of claim or be forever barred from asserting any such
claims apainst the Debtors.

“Debtor” is the person, corporation, or other entity that has filed a bankruptcy case.

“Creditor” is any person, corporation, or other entity to whom the debtor owed a debt on the
date the bankruptcy case was filed.

“Proof of Claim” isa form telling the banktuptcy court how much the debtor owed a creditor at
the time the bankruptcy case was filed (thé amount of the creditor’s claim). This form must. be
filed with the claims agent described below.

~ THE DEBTORS —

The Bar Date for filing Proofs of Claim shall apply to persons and entities having claims within
section 101(5) ‘of the Bankruptey Code against any or all of the following entities or their
predecessors- in-interest as of the time immediately preceding the applicable Bar Date except for
Non-Asbestos Claims which are claims as of ‘the date immediately preceding the filing of the
Chapter: 11 cases:on April 2; 2001: W.R. Grace & Co. (fk/a Grace Specialty Chemicals, Inc.),
case:no. 01-1139, W. R. Grace & Co.-Conn., case no. 01-1179, A-] Bit & Tool Co., Inc., case
no. 01-1140, Alewife Boston Ltd., case no. 01-1141, Alewife Land Corporation, case no. 01-
1142, Amicon, Inc., case no. 01-1143, CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc:); case
no. 01-1144, CCHP, Inc., case no. 01-1145, Coalgrace, Inc., case no. 01-1146, Coalgrace II, Inc.,
case no. 01-1147, Creative Food ‘N Fun Company, case no. 01-1148, Darex Puerto Rico, Inc.,
case no. 01-1149, Dei Taco Restaurants, Inc., case no. 01-1150, Dewey and Almy, LLC (fik/a
Dewey and Almy Company), case no. 01-1151, Ecarg, Inc., case no. 01-1152, Five Alewife
Boston Ltd., case no. 01-1153, G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners
1, Inc), case no. 01-1154, G C Management, Inc. (f/k/a Grace Cocoa Management, Inc), case
no. 01-1155, GEC Management Corporation, case no. 01-1156, GN Holdings, Inc., case no. 01-
1157, GPC Thomasville Corp., case no. 01-1158, Gloucester New Communities Company, Inc.,
case no. 01-1159, Grace A-B Inc., case no. 01-1160, Grace A-B TI Inc., case no. 01-1161, Grace
Chemical Company of Cuba, case no. 01-1162, Grace Culinary Systems, Inc., case no 01-1163,
Grace Drilling Company, case no. 01-1164, Grace Energy Corporation, case no. 01-1165, Grace
Environmental, Inc. case no. 01-1166, Grace Europe, Inc., case no. 01-1167, Grace H-G Inc.,
case no. 01-1168, Grace H-G II Inc., case no. 01-1169, Grace Hotel Services Corporation, case

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ve see, —.
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no. 01-1170; Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, inc.),

case no. 01-1171, Grace Offshore Company, case no. 01-1172, Grace PAR Corporation, case no.
01-1173, Grace Petroleum Libya Incorporated, case no. 01-1174, Grace Tarpon Investors, Inc.,
case no. 01-1175, Grace Ventures Corp., case no. 01-1176, Grace Washington, Inc., case no. 01-
1177, W. R. Grace Capital Corporation, case no. 01-1178, W. R. Grace Land Corporation, case
: _ po. 01-1180, Gracoal, Inc, Gracoal Ul, Inc, case no 01-1181, Guanica-Caribe Land
| Development Corporation, case no. 01-1184, Hanover Square Corporation, case no. 01-1184,

Homco International, Inc., case no, 01- 1185, Kootenai Development’ Company, case no. 01-
1186, L B Realty, Inc., case nd, 01-1187, Litigation Management, Ing. (fda GHSC Holding,

Inc., Grace IVH, Inc., " Asbestos Management, Inc.), case no: O1- 1188, Monolith Enterprises,
| Incorporated, case no. 01-1189, Monroe Street, Inc., case no. 01-1190, “MRA Holdings Corp.
\

(i/k/a Nestor-BNA Holdings Corporation), case mo. 01-1191, MRA Intermedco, Inc. (f/ik/a
Nestor-BNA, Inc.), case no. 01-1192, MRA Staffing Systems, Inc. (f/k/a British Nursing
. Association, Inc.), case no.,.01-1193, Remedium Group, Inc. (f/k/a Environmertal Liability
Management, Inc., E&C Liquidating Corp.,, Emerson & Cuming, Inc.}, case no, G1-1194,
Southern Oil, Resin & Fiberglass, Inc., case no. 01-1195, Water Street Corporation, case no. Q1-
: 1196, Axial Basin Ranch Company, case no. Ol- 1997, CC Partners (f/k/a Cross Country
! Staffing), case no. 01-1198, Hayden-Gulch, West Coal Company; case no. 01-1199, H-G:Goal
Company, case no. 01-1200, (herein collectively referred to as the “Debtors” or “Grace”.

~ SPECIFIC DEFINITIONS ~ ~

The Debtors have created specialized Proof of Ciaim forms. for the following.claims: Non-
Asbestos Claims, Asbestos. Property Damage Claims and Medical Monitoring Claims. Such
claims are defined as follows: Do

“Non-Asbestos Claims” are any claims against the Debtors as of the time immediately
preceding the commencement of the Chapter 11 cases on April 2, 2001 other than Asbestos

: Personal Injury Claims, Asbestos Property’ Damage Claims; Zonolite Attic Insulation: Claims,
Settled Asbestos .Claims- or Medical: Monitoring Claims. More specifically, Non-Asbestos
: Claims are thoseclaims against one:er mare‘of:the Debtors, whether in the nature of or'sounding
in tort, contract, warranty or.ariy other theory. of law or equity for, relating to or arising by-reason
of, directly: or indirectly, any injury, damage or economic. loss caused or allegedly. caused

- directly or indiréctly: by any of the Debtors or any products or materials manufactured, sold,
supplied; produced, specified; sdlected, distributed or in any ‘way: marketed by one or:more ofthe
Debtors and arising or allegedly. arising. directly or indirectly, from acts or. omissions‘ of one or
‘more of the Debtors, including, but not limited io, all:claims, debts, obligations or Habilities for
compensatory and punitive damages. For purposes of the Bar Date, the defined term “Non
Asbestos Claim” is not intended to include those claims separately defined herein as:(a) Asbestos
Personal Injury Claims; (b): Asbestos Property Damage Claims; (c) Zonclite Attic. Insulation
Claims; (d} Settled Asbestos Claims; or (¢) Medical Monitoring Claims.

«Asbestos Property Damage Claims” are claims as of the time immediately preceding the Bar
Date that relate, for example,.to-the cost of removal, diminution of property value or economic
loss caused’by asbestos in products manufactured by the Debtors. or from vermiculite mined,
milled, or processed by the Debtors. More specifically, Asbestos Property Damage Claims are
those claims against, or any debt, obligation or liability of, one or more of the Debtors, whether
in the nature of or sounding in tort, contract, warranty or any other theory of law or equity for,
relating to or arising by teason of, directly or indirectly, property damage, including, but not
limited to, diminution in the value thereof, or environmental damage or economic loss caused or

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allegedly caused, directly or indirectly, by asbestos in products or materials, manufactured, sold,
supplied, produced, specified, selected, distributed or in any way marketed by one or more of the
Debtors or from vermiculite mined, milled, or processed by the Debtors and arising or allegedly
arising, directly or indirectly, from acts or omissions of one or more of the Debtors, including,
but'not limited to, all claims, débts, obligations or liabilities for compensatory and punitive
damages. For purposes of the Bar Date, the defined term “Asbestos Property Damage Claim” is
not intended to include those claims separately defined herein as (a) Asbestos Personal Injury
Claims; (b)'Zonolite Attic Insulation Claims; (c) Settled Asbestos Claims; (d} Non-Asbestos
'.Claims; or (ce) Medical Monitoring Claims even though such claims may or may not arise
directly or indirectly as a result of claims for property damage relating to asbestos or vermiculite.
“Medical Monitoring Claims” are claims by or on behalf of those who have not as of the Bar
Date suffered any. personal injury but who are alleging that Grace wrongfully caused them to be
significantly exposed to hazardous asbestos fibers, that this exposure significantly increased the
claimant’s risk of contracting a serious latent disease, that medical monitoring could reasonably
be expected to result in early detection of the onset and mitigation of the severity of such disease,
and that because of this exposure it is necessary for the claimant to be examined by a physician
or receive medical testing more often than he or she otherwise would.

As- outlined in the Claims Bar Date Notice, the Bar Date does not apply to Asbestos
Personal Injury Claims, Settled Asbestos Ciaims or Zonolite Attic Insulation Claims.
Those claims will be subject to a separate claims submission process and should not be filed
at this time. Those claims are defined as follows:

“Asbestos Personal Injury Claims” are claims that involve personal injuries or damages related
to exposure to asbestos containing products manufactured by the Debtors or exposure to
vermiculite mined, milled or processed by the Debtors. More specifically, Asbestos Personal
Injury ‘Claims are those claims agaist ene or more of the Debtors, whether in nature of or
sounding in tort, contract, warranty or any other theory of law or equity for, relating to or arising
by reason of, directly or indirectly, physical, emotional or other personal injuries or other
damages caused, or allegedly caused, directly or indirectly, by the exposure to, asbestos
containing products or ‘materials manufactured, sold, supplied, produced, specified, selected,
distributed or in any way marketed by one or more of the Debtors or by the exposure to
vermioulite mined, milled or processed by the Debtors, and arising or allegedly arising, directly
or indirectly, from acts or omissions of one or more of the Debtors, including, but not limited to,
all claims, debts, obligations or liabilities for compensatory damages such as loss of consortium,
médical monitoring, personal or bodily ‘injury, wrongful death, survivorship, proximate,
consequential, general and special damages and punitive damages. The defined term “Asbestos
Personal Injury Claim” is not intended to include those claims separately defined herein as (a)
Asbestos Property Damage Claims; (b) Zonolite Attic Insulation Claims; (c) Settled Asbestos
Claims; (4) Non-Asbestos Claims; or (e) Medical Monitoring Claims even though such claims
may or may not arise directly or indirectly as a result of exposure to asbestos or asbestos-
containing products or the mining, milling or processing of vermiculite.

“Sented Asbestos Claims” are those Asbestos Personal Injury Claims against the Debtors for
which the Claimant and one or more of the Debtors entered into a fully-effective and binding
settlement agreement, for a liquidated amount, as of the commencement of the Debtors’ chapter
11 cases on April 2, 2001 , but for which the Claimant has yet to receive full payment. The
defined term “Settled Asbestos Claim” is not intended to include those claims separately defined
herein as (a) Asbestos Personal Injury Claims; (b) Asbestos Property Damage Claims; (c)

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Zonolite Attic Insulation Claims; (d) Non-Asbestos. Claims; or (e):Medical Monitoring Claims
even though such claims may or may not arise directly or indirectly as-a result of exposure to
asbestos or asbestos-containing products or the, mining; milling:or processing of vermiculite.

“Zonolite Attic Insulation Claims” are claims, that relate, for example, to the cost of removal,
diminution of. property value or economic loss..caused,by the Zonolite Attic Insulation
manufactured by the Debtors. Zonolite Attic Insulation is a-loose- fill, non-roll vermiculite home
attic insulation, which may. contain naturally occurring asbestos, It: was sold from the
1920/1930s to 1984. Zonolite may have a glittery granular appearance; The granules are shaped
like a small nugget and expanded like an accordion and may have a silyery, gold translucent or
brownish cast. After years in the attic, however, the granules may darken to black or gray.
Zonolite may be found underneath subsequently installed insulation:of;other types stich as. rolled
fiberglass insulation. Zonolite Attic Insulation Claims are those claims. egainst, or. any.debt,
obligation or liability of, one or more of the Debtors, whether: in the nature:of:or sounding in tort,
contract, warranty:or any other theory of law or equity,-relating to or arising-by’ reason of,
directly or indirectly, property damage,-including; but not limited to, diminution in the value
thereof, or environmental damage or économic loss:caused or. allegedly caused,. directly-or
indirectly, by the Zonolite Attic Insulation. sold, supplied, produced, specified, selected,
distribufed or in any way marketed by one of the Debtors -- and arising or allegedly arising,
directly ‘or iridirectly; fromi-acts or omissions of one or more of the Debtors, including: but not
limited to, all claimis,! debts} obligations’ or liabilities for compensatory and punitive damages.

' The defined: term “Zonolite Attic Insulation @laim” is not, intended to‘iiclyde those claims
separately defined herein as (a) Asbestos Personal Injury Claims; (b)} Asbestos Property Damage
Claims; (c) Settled Asbestos Claims; ({d) Non-Asbestos Claims; or (¢) Medical Monitoring
Claims "eveiithough stich ‘élaims may or may not’ arise directly or indifectly: as a result of'claims
for property damage relatinig to Zonolite Attic! Insulation. ORS

ee EE

The Bar Date for filing N' ON-ASBESTOS CLAIMS; ASBESTOS PROPERTY DAMAGE
CLAIMS AND: MEDICAL MONITORING CLAIMS i is March a1, 2003 at 4:00 p.m.
Eastern ‘Time. . ™ a

Be sure to date:the claim cua, plisce original a of sina ant or nesson making claim for
creditor where indicated at the bottom of the claim form:. Please type or print name of
individual undér the signature: Be sure all items: are answered onthe claim form. tfnot
snpleabie; insert “Not Applicable”. iyo. Moe

RETURN. CLAIM FORM (WITH ATTACHMENTS, iF ANY) TO. THE FOLLOWING
CLAIMS.AGENT FOR THE DEBTORS: oa

Claims Processing Agent . Me

Re: W.R Grace & Co. Bankrupiey
BP. O. Box 1620 .

Faribault, MN 55021- 1620

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SPECIFIC INSTRUCTIONS FOR COMPLETING
GRACE NON-ASBESTOS PROOF OF CLAIM FORMS

The instructions and definitions below are general explanations of the faw In particular types of cases or circumstances. there may be exceptions to these general
rules

This Proof of Claim form is for Creditors who have Non-Asbestes Claims against any of the Debtors Non-Asbestas Clafms are any claims ageinst the Debtors as of o
lime immediately preceding the commencement of the Chapter 1] cases on April 2, 200F other than Asbestos Personal Injury Claims, Asbestos Property Damage
Claims, Zonalite Attic Insulation Claims. Settled Asbestos Claims or Medicul Monitoring Claims, ss defined on the enclosed General Instructions More specifically,
Non-Asbestos Claims are those claims against one or more of the Debtors, whether in the nature of or sounding in tor, contract, warranty or any other theory of law or
equity for, relating 10 or arising by reason of, directly or indirectly, any injury, damage or economic loss caused or allegedly caused directly or indirectly by any of the
Debtors or any products or materials manufactured, sold, supplied, produced, specified, selected, distributed or in any way marketed by one or more of the Debtors and
arising or allegedly arising directly or indirectly, from acts or omissions of one or more of the Debtors, including, but not limited to, all claims, debts, obligations or
Habilities for compensatory and punitive darnages

Administrative Expenses: Those claims for, among other things, the actual, necessary costs and expenses of preserving the estate as defined in Section 503 of the
Bankruptcy Code that arose after the commencement of the case A request for payment of an administrative expense may be filed pursuant to Section 503 of the
Bankruptcy Code This form should nol be used to make a claim for an administrative expense

Secured Claim: A claim isa secured claim to the extent that the creditor kas a lien on property of the debtor (collateral) that gives the creditor the right to be paid from
Uhat property before creditors who do oot have liens on the property. Examples of licens are o mortgage on real estate and 9 security interest in a cor, truck, boat,
television set, or other item of property. A lien may have been obtained through a court proceeding before the bankruptcy case began: in some states a court judgment
isalien In addition. to the extent a creditor also owes money to the debtor (has a right to setoff), the creditor's claim may be a secured claim. (See also Unsecured
Claim )

Unsecured Claim: Ha claim is not o secured cinim, itis an unsecured claim. Linsecured claims ere those claims for which 4 creditor has no lien on the debtor's
property or the property on which a creditor has a lien is not werth enough to pay the creditor in fuil

Unsecured Nonpriority Claim: Certain types of unsecured claims are given priority, s0 they are to be paid in bankruptey cises before most other ungecured claims (if
there is sufficient money or property available to pay these claims) The most common types of priority claims are listed on ihe proof of cisim form Unsecured claims
that dre not specifically given priority status by the bankruptcy laws are classified as Unsecured Nonpriority Claims

information about Creditor: Complete this section giving the name, address, and telephone number of the creditor to whom the debter owes moncy or property, and
the debtor's account number, if any Lf anyone else bas already filed a proof of claim relating to this debt, # you never received notices from the court which sent
notice, or if this proof of claim replaces or amends a proof of claim that was alrendy filed, check the appropriate box on the form

k Basis for Claim: Check the type of debt for which the proof of claim is being fled. Ifthe type of debt ig not listed, check “Other” and briefly describe the
lype of debt If you were an employes of the debtor, fill in your social security number and the dates of work for which you were not paid

2 Date Debt Incurred: Fill in the date the dett was first owed by the debtor.

3 Court Judgments: H you have a court judgment for this debt, sinte the date the court entered the judgment

4 Amount of Claim: insert the amount of claim at the time the case was filed in the appropriate box based on your selected Classification of Claim in item 5.

If interest or other charges in addition to the principal amount of the claim are included, check the appropriate place on the form and attach an iternization of
the interest and charges

5 Classification of Claim: Check either Secured, Unsecured Nonprionty or Unsecured Priority ay appropriate (See Definitions above }

Unsecured Priority Claim: Check the appropriate place if you have an unsecured priority ciuim, and state the amount entitled to priority (See
Definitions. above) A claim may be partly priority and partly nonpriority #f, for example, the eloim is for more than the amount given priority by
the law Check the appropriate place to specify the type of priority claim

6 Credits: By signing this proof of claim, you are stating under oath that in calculating the amount ef your claim, you have given the debtor credit for all
payments received from the debtor

7 Supporting Documents: You must attach to this proof of claim form. copies of documents that show the debtor owes the debt claimed or, ifthe documents
ure too lengthy, s summary of those documents If documents are not avaiinble, you must attach an explanation of why they are not available

Be sure to date the claim and place original signature of claimant or person making claim for creditor where indicated at the bottom of the claim farm Please type
or print name of individual under the signature. Be sure all items are answered on the claim form. If not applicable, insert “Net Applicable”.

RETURN CLAIM FORM (WITH ATTACHMENTS, IF ANY) TO THE FOLLOWING CLAIMS AGENT FOR THE DEBTORS:

Claims Processing Agent
Re: W OR. Grace & Co Bankruptcy
PO. Box 1620
Faribault, MN 55021-1620
The Bar Date for filing all NON-ASBESTOS CLAIMS ngainst the Debtors is March 31,2003 at 4:06 p.m. Eastern Time.

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Unirep States BANKRUPTCY Court For THE District or Delaware GRACE NON-ASBESTOS.
PROOF OF CLAIM FORM

Name of Debtor Case Number

NOTE: Do not use this form to assert an Asbestos Personal Injury Claim, a Settled Ashestos Claim er o Zonollte Attic

insulation Claim, Those claims will be subject to = reparate claims submission procesy. This form should alae net be used
to fle n claim for sn Asbestos Property Damage Cini 0 or Medical Menitaring Claim. A specialized proof ef claim form for
! exch of these claim shauid be fled.

Name of Creditor (The person or other entity to whom the Debtor Cheek box if you sre aware thal anyone

’ nise han filed s proof of cinim relating to
owes money or property): yourcisim Attach copy of statement Tas Space Is For Count Use OnLy

giving particulars
£3 Chock box if you have never received any
Namie and address where notices should be sent: Caan eenowosey cou fo ti
C2 cheek box ifthe address differs from the
addres on the envelope sent ta you by the
court.

Account or other number by which creditor identifies Debtor: Chock bere Cl reptaces
. ible claim oO emends 0 previously filed cleim. doted:,

Corporate Name, Common Name, and/or d/b/a name of specific Debtor against whom the claim is asserted:

1. Basis for Clelm . O Retires benefits as defined in $1 US.C § 11 24(o}
Goods sold O Wages, salnries. and compensation (fill out below)
O Services performed
Environmental liability Your $8 if:
G Money loaned Unpuid compensation for services perfonned
© Non-askestos personal injeryswrongful death from to (date}
O Taxes
O Other,
2. Date debt was incurred: 3. Uf court judgment, dute obtained:
4. Total Amount of Claim at Tle Case Filed: $

Hoafl or part of your clejim ia secured of entitled tv prigtity, also complete Jism 5 below
oO Checic thin box if claim inchides interest or olher charges in sdditien to the principal amoval of the claim. Attach itemized xtatement of nil interest or additionul charges.

5. Classification of Clakm. Under the Bunkruptey Code all claims are cinasified a3 vue or more of the following: (1} Unsecured Noupriority, (2) Unsecured
Prtority, (3) Secured. 3t ts possible for part of a claim to be in one category and pert in anther, CHECK THE APPROPRIATE BOX OR BOXES that best
deseribe your claim and STATE THE AMOUNT OF THE CLAIM AT TIME CASE FILED.

SECURED CLAIM (check this box if your claim is secured by ccilatera), including @ UNSECURED PRIORITY CLAIM - Specify the priority of the claim
a right of setoff)
O Wages, calazies, or commissions (up to $4650), earned not more than
Brief Description of Collateral: 90 days Sefore filing ef the bankruptcy petition er cessation of the
debtor's business, whichever is earlier - 11 U-S C § 507(0}(3).

O Real Estate QO Other Describe briefly)
O Contributions toe on employee benefit plan- 1] USC § 507(0){4}.
Amount of armarage and other charges at time case filed included in cecured C) Taxes or penalties of yovernmenta! unity - 11 U SC. § S07(a}(7),

claim above. if any: $

Attach evidence of perfection of security interest O Other - Specify applicable paragraph of 17 USC § S507af

O UNSECURED NONPRIORITY CLAIM
A chim is unsecured if there is no collateral ar lien on property of the

debtor securing the cloim or to the extent thut the value of such
property is less than the amount of the claim.

6. Credits: The amount of alf payments cn this cluim has been credited and deducted for the purpose of making this proof of claim This Space is for Court Use Only

7. Supporting Documents: driech es of su ing documents, such as promissory notes, purchuse ordera, involers, itemized
statements of running accounts, contracts, court judgments, mortgages. security agreements and evidence of perfection of Hen
BO NOT SEND ORIGINAL DOCUMENTS if the documents are nat available, explain. Ifthe documents are voluminous.
enach & summary

$. Acknowledgement: Upon receipt and processing of this Proof cf Cinim, you will receive an acknowledgement card indicating
the date of fling and your unique claim number If you wont a file stamped copy of the Proof of Claim form itself, enclose o aclt
addressed envelone and copy of this proof of claim form.

Date Sign and print the name and tile. df eny- of the oreditar or other peraon sutiarized 10 fb thie claim (attack copy of pawer of stiomey. if ony}:

' See General Instructions and Claims Bar Date Notice and its exhibits for names of sll Debtors and “other names used by the Debtors

